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                 UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                         STATESBORO DIVISION


WILLIE WILLIAMS,

      Movant,

v.                                           Case No. CV616-063
                                                       CR614-001
UNITED STATES OF AMERICA,

      Respondent.

                                    ORDER

      This case implicates the prison mailbox rule, if not also perjury law.

Willie Williams moves for 28 U.S.C. § 2255 relief. Doc. 125. On

November 7, 2014, he pled guilty to and was convicted of violating 18

U.S.C. § 1029(a)(4) (possession of device-making equipment with intent

to defraud). CR614-001, doc. 111 at 1; doc. 112 at 2 (Judgment imposing

99-month sentence). 1 He waived his right to direct and collateral appeal

(doc. 111 at 2) and, unsurprisingly, took no appeal.

      Instead, he has filed the instant motion challenging his sentence,

contending that “the Court presented a substantial error when it

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 All citations are to the CR614-001 criminal docket unless otherwise noted, and all
page numbers are those imprinted by the Court’s docketing software.
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imposed a 99 months [sic] sentence outside of Mr. Williams [sic]

guideline range of 70-87 months guideline range sentence.” Doc. 125 at

13. The Court is preliminarily reviewing the motion under the Rule 4(b)

of the Rules Governing Proceedings under 28 U.S.C. § 2255.

     On its face the motion beckons a timeliness examination under 28

U.S.C. § 2255(f)(1)’s one-year limitations period. Pursuant to Federal

Rule of Appellate Procedure 4(b)(1)(A)(i), Williams had 14 days from the

October 7, 2014 entry of the judgment against him to file his notice of

appeal ( i.e. , until October 21, 2014). Since he filed no appeal, his

conviction became final on November 4, 2014. Ramirez v. United States ,

146 F. App’x 325, 326 (11th Cir. 2005) (“In most cases, a judgment of

conviction becomes final when the time for filing a direct appeal expires. .

. . For federal prisoners, the time for filing a direct appeal expires

[fourteen] days after the written judgment of conviction is entered on the

criminal docket.”); see also Close v. United States , 336 F.3d 1283, 1284–

85 (11th Cir. 2003) (a judgment of conviction becomes final when all

appeals have been decided or the time to seek further review has

expired), cited in Garcia-Valenzuela v. United States , 2014 WL 1379540

at * 3 (N.D. Ga. Apr. 8, 2014).



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     Williams’ § 2255 motion arrived at this Court on May 31, 2016.

Doc. 125. That’s way late. But he declared under penalty of perjury --

and cited 28 U.S.C. § 1746 -- that he placed his § 2255 motion in the mail

on January 1, 2015. Doc. 125 at 18. If that’s true, then the motion is

timely filed. To prevent casual back-dating, the Court’s § 2255 form

questions movants like Williams whether they met § 2255(f)’s one-year

limitations period and compels them to sign their name, affirming their

answer, under penalty of perjury. Williams wrote (in raw, unedited

form) “§ 2255 U.S.C. § 2255 file on 1/1/15 timely.” Doc. 125 at 10. He

also wrote “January 1, 2015” above his signature on the Certificate of

Service at the end of his § 2255 filing. Id. at 18.

     Yet, the prison mail-receipt stamp on his § 2255 motion’s mailing

envelope shows that it was processed out of that facility many months

later -- on May 26, 2016. Doc. 125-1. This Court’s Clerk evidently

received it just days after that (the Clerk’s office docketed it on May 31,

2016. Doc. 125). Those dates otherwise show that the § 2255 motion is

time-barred.

      Something’s amiss. The law sorts things like this out by erecting a

presumption of mailing: “Under the ‘prison mailbox rule,’ a pro se



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prisoner's federal habeas petition is deemed filed on the date it is

delivered to prison authorities for mailing, which, absent evidence to the

contrary, is presumed to be the date executed. See Houston v. Lack , 487

U.S. 266, 275-76 (1988); Washington v. United States , 243 F.3d 1299,

1301 (11th Cir. 2001).” Lawson v. Thomas , 2015 WL 9703422 at * 2 n. 1

(N.D. Ala. Dec. 17, 2015); Natson v. United States , 494 F. App’x 3, 4

(11th Cir. 2012). Williams literally cites Houston and the “Mailbox Rule”

on his § 2255 motion’s Certificate of Service page. Doc. 125 at 18.

     So, the Court must presume that he filed his § 2255 motion on

January 12, 2015, which makes it timely filed under § 2255(f)(1). “The

burden is on the Government to prove the motion was delivered to prison

authorities on a date other than the date the prisoner signed it.” Jeffries

v. United States , 748 F.3d 1310, 1314 (11th Cir. 2014) (citing

Washington , 243 F.3d 1301). The Court will give it that chance.

     But it is worth noting how easy it is for a petitioner to simply lie

about when he placed his §2255 motion in his prison’s mail system. That

warrants a reminder that perjury is not tolerated here:

  [L]ying under oath, either live or “on paper,” is illegal. See United
  States v. Roberts , 308 F.3d 1147, 1155 (11th Cir. 2002) (defendant's
  falsely subscribing to statement in his habeas petition that he had
  not previously filed a § 2255 motion, was “material” for purposes of

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    perjury prosecution; statement fooled the clerk of the court into
    accepting the “writ” for filing, and led the magistrate judge to
    consider its merits until she discovered that the “writ” was a
    successive § 2255 motion in disguise); United States v. Dickerson ,
    CR608-36, doc. 1 (S.D.Ga. Dec. 11, 2008) (§ 2255 movant indicted
    for perjury for knowingly lying in his motion seeking collateral
    relief from his conviction); id ., doc. 47 (guilty verdict), cited in Irick
    v. United States , 2009 WL 2992562 at *2 (S.D. Ga. Sept. 17, 2009
    (unpublished); see also Colony Ins. Co. v. 9400 Abercorn, LLC , 866
    F.Supp.2d 1376, 1378 n. 2 (S.D.Ga.2012).

Mingo v. United States , 2014 WL 4926278 at *1 n. 3 (S.D.Ga. Oct.1,

2014). Nothing, for that matter, prevents Williams from voluntarily

withdrawing his § 2255 motion ahead of the Government’s response,

which is due 30 days from the date this Order is served. 1

       SO ORDERED , this 6th day of June, 2016.


                                        UNITED STATES MAGISTRATE ILJDGE
                                        SOUTHERN DISTRICT OF GEORGIA




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  In Mingo , the Court considered defense counsel's affidavit about a matter before
the Court. Counsel swore to facts adverse to § 2255 movant Mingo. Mingo , 2014 WL
4926278 at * 1. The Court directed Mingo to rebut that and provided him with a §
1746 Declaration form. It also warned him that it would tolerate no perjury. Rather
than comply, he moved to dismiss his case, and it was promptly granted. Mingo v.
United States , CR612–018, docs. 1082, 1083 & 1088 (S.D. Ga. 2014); see also
Marshall v. United States , 2015 WL 3936033 at * 2 (S.D. Ga. June 26, 2015) (also
ordering supplemental statements subject to perjury).

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